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                                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                                                                     FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                                                                              SOUTHERN DIVISION

                                                                                                                      NATIONWIDE LIFE INSURANCE COMPANY,
                                                                                                                      a foreign corporation,
                                                                                                                                   Plaintiff/Counter-Defendant,

                                                                                                                      vs.                                       Case No. 11-cv-12422-AC-MKM
                                                                                                                                                                Hon. Avern Cohn

                                                                                                                      WILLIAM KEENE, JENNIFER KEENE,
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                      MONICA LYNNE LUPILOFF, NICOLE RENEE
                                                                                                                      LUPILOFF and NICOLE RENEE LUPILOFF,
               A PROFESSIONAL CORPORATION




                                                                                                                      PERSONAL REPRESENTATIVE OF THE ESTATE
                                                                                                                      OF GARY LUPILOFF, DECEASED,
                                                                                                                                                            STATEMENT OF MATERIAL
                                                                                                                                Defendants,                 FACTS FOR PLAINTIFF’S
                                                                                                                                                                         MOTION FOR SUMMARY
HARVEY KRUSE




                                                                                                                      and                                                JUDGMENT AGAINST THE
                                                                                                                                                                         LUPILOFF DEFENDANTS
                                                                                                                      MONICA LYNNE LUPILOFF, NICOLE RENEE
                                                                                                                      LUPILOFF and NICOLE RENEE LUPILOFF,
               ATTORNEYS & COUNSELORS




                                                                                                                      PERSONAL REPRESENTATIVE OF THE ESTATE
                                                                                                                      OF GARY LUPILOFF, DECEASED,
                                                                                                                                Defendants/Counter-Plaintiffs and Cross-Plaintiffs,

                                                                                                                      vs.

                                                                                                                      WILLIAM KEENE, JENNIFER KEENE,
                                                                                                                      Individually, jointly and severally,
                                                                                                                                   Defendants/Cross-Defendants.
                                                                                                                      __________________________________________________________________/
                                                                                                                      Michael F. Schmidt P25213               Albert L. Holtz P15088
                                                                                                                      Nathan Peplinski P66596                 Attorney for Lupiloffs
                                                                                                                      Attorneys for Plaintiff                 3910 Telegraph Road, Suite 200
                                                                                                                      1050 Wilshire Drive, Suite 320          Bloomfield Hills, MI 48302
                                                                                                                      Troy, MI 48084                          (248)593-5000
                                                                                                                      (248)649-7800
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                                                                                                                      John H. Bredell P36577            Geoffrey N. Fieger P30441
                                                                                                                      Attorney for Keenes               E. Jason Blankenship P63566
                                                                                                                      119 N. Huron Street               Co-Counsel for Lupiloffs
                                                                                                                      Ypsilanti, MI 48197               19390 West Ten Mile Road
                                                                                                                      (734)482-5000                     Southfield, MI 48075
                                                                                                                                                        (248)355-5555
                                                                                                                      __________________________________________________________________/

                                                                                                                          STATEMENT OF MATERIAL FACTS IN SUPPORT OF PLAINTIFF’S
                                                                                                                           MOTION FOR SUMMARY JUDGMENT AGAINST THE LUPILOFF
                                                                                                                                             DEFENDANTS
                                                                                                                               Plaintiff Nationwide Life Insurance Company (Nationwide), by its attorneys
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                      and pursuant to Judge Cohn’s Practice Guidelines, submits the following Statement
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                                                                                                                      of Undisputed Material Facts in Support of its motion for summary disposition
HARVEY KRUSE




                                                                                                                      against Nicole Lupiloff, Monica Lupiloff, and the estate of Gary Lupiloff:

                                                                                                                          I.        The Parties and Their Relationships
                                                                                                                               1.     Nationwide is an Ohio corporation with its principal place of business
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                                                                                                                      located in Columbus, Ohio. (Nationwide Corporate Information, Exhibit 1)

                                                                                                                               2.     Defendant William Keene1 is a resident of Ann Arbor, Michigan.

                                                                                                                      (Amended Interpleader Complaint, Exhibit 2, ¶ 2; Keene Defendants’ Answer,

                                                                                                                      Exhibit 3, ¶ 2)

                                                                                                                               3.     Defendant Jennifer Keene is a resident of Ann Arbor, Michigan.

                                                                                                                      (Exhibit 2, ¶ 3; Exhibit 3, ¶ 3)



                                                                                                                      1
                                                                                                                        Nationwide will refer to William and Jennifer Keene collectively as the Keenes
                                                                                                                      and individually by their first name.

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                                                                                                                               4.      Defendant Monica Lynn Lupiloff (Monica) is a resident of Cook

                                                                                                                      County, Illinois. (Lupiloff Defendants’ Answer, Exhibit 4, ¶ 4)

                                                                                                                               5.      Defendant Nicole Renee Lupiloff (Nicole) is a resident of Oakland

                                                                                                                      County, Michigan. (Exhibit 2, ¶ 5; Exhibit 4, ¶ 5)

                                                                                                                               6.      Nicole is the personal representative of the estate of Gary Lupiloff. 2

                                                                                                                      (Exhibit 2, ¶ 6; Exhibit 4, ¶ 6)
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                                                                                                                               7.      On November 28, 2003, Nationwide issued a policy of life insurance
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                                                                                                                      on the life of Gary Lupiloff, Policy No. L034804300, with a face value of

                                                                                                                      $500,000. (Policy, Exhibit 5, p 303)
HARVEY KRUSE




                                                                                                                               8.      The policy listed Gary Lupiloff as the owner, Gary Lupiloff as the

                                                                                                                      insured, William Keene/ATIMA as the primary beneficiary, and Nicole and
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                                                                                                                      Monica as contingent beneficiaries. (Exhibit 5, pp 303, 316)

                                                                                                                               9.      William was Gary Lupiloff’s business partner. (Exhibit 5, p 316)

                                                                                                                               10.     Nicole and Monica were Gary Lupiloff’s daughters. (Exhibit 5, p

                                                                                                                      316)

                                                                                                                         II.         The Court’s Jurisdiction and Venue
                                                                                                                               11.     The policy provides for potential coverage greater than $75,000, and

                                                                                                                      thus, the amount in controversy is greater than $75,000. (Exhibit 5, p 303)

                                                                                                                               12.     As explained above, the citizenship of the parties is diverse. (Exhibits




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                                                                                                                      1-4)

                                                                                                                             13.     This Court has jurisdiction pursuant to 28 USC 1332(a).

                                                                                                                             14.     This case also involves an action in the nature of interpleader allowed

                                                                                                                      by FRCP 22.

                                                                                                                             15.     More than one defendant resides in the Eastern District of Michigan.

                                                                                                                             16.     A substantial portion of the events involved in this case occurred in
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                                                                                                                      the Eastern District of Michigan.
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                                                                                                                             17.     Venue is proper in this Court pursuant to 28 USC 1391.

                                                                                                                          III.     The Policy Makes No Financial Sense for the Keenes Absent an
                                                                                                                                   Intent to Murder From the Inception But William Admitted to
HARVEY KRUSE




                                                                                                                                   Making the Payments on the Policy
                                                                                                                             18.     Gary Lupiloff was a 46 year-old man in 2003, at the time Nationwide

                                                                                                                      issued the policy. His date of birth was November 29, 1956. (Exhibit 5, p 314)
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                                                                                                                             19.     The Social Security Administration sets the life expectancy for a man

                                                                                                                      born on November 29, 1956 as 83.1 years. (SSA Life Expectancy Calculator,

                                                                                                                      Exhibit 16)

                                                                                                                             20.     Another actuarial table set Gary Lupiloff’s life expectancy in 2003 at

                                                                                                                      a range of 75.3 to 77.5 years. (Actuarial Table, Exhibit 17)

                                                                                                                             21.     The premium cost of the policy was set to substantially increase, by

                                                                                                                      tenfold, when Lupiloff turned 56. (Exhibit 5, p 304, Premium Table, Exhibit 18)


                                                                                                                      2
                                                                                                                          Nationwide will refer to Monica, Nicole, and the estate collectively as the

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                                                                                                                            22.    The premium costs for the policy would continue to increase from this

                                                                                                                      point, costing tens of thousands of dollars each year. By the age of 77, the

                                                                                                                      premium cost would be $97,365 for one year. (Exhibit 18)

                                                                                                                            23.    Thus, even if Lupiloff reached the lower end of his life expectancy,

                                                                                                                      the cost of the life insurance policy would reach over $915,000, nearly double the

                                                                                                                      $500,000 face value of the policy. (Exhibit 18)
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                                                                                                                            24.    The policy’s medical evaluation and questions to Gary Lupiloff show
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                                                                                                                      that he was in good health at the time the application was taken out. (Exhibit 5, pp

                                                                                                                      318-322; Medical Information, Exhibit 19)
HARVEY KRUSE




                                                                                                                            25.    William’s supplemental discovery answers indicate that it was his

                                                                                                                      idea to obtain the policy. He made at least two payments on the policy, including
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                                                                                                                      the initial payment to Nationwide, up until the time that the ownership of the

                                                                                                                      policy changed. After that point, William made all of the payments on the policy.

                                                                                                                      (Supplemental Discovery Answers, Exhibit 20; Initial Payment Check, Exhibit 21)

                                                                                                                      There is no evidence of Gary Lupiloff making a payment after the change of

                                                                                                                      ownership.

                                                                                                                            26.    William’s discovery answers also admit that the loan underlying the

                                                                                                                      policy was for $130,000. (Exhibit 20)

                                                                                                                            27.    This is contrary to the information provided at the time of the


                                                                                                                      Lupiloff defendants.

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                                                                                                                      application in the New Account Suitability Form, which indicated that the debt was

                                                                                                                      originally over $500,000. (New Account Suitability Form, Exhibit 22) William

                                                                                                                      admitted that the information was false. He admitted that the total debt was only

                                                                                                                      $130,000. William further admitted that the debt was never over $500,000 and

                                                                                                                      that it had not been paid down as claimed on the form. (William Dep, Exhibit 25,

                                                                                                                      pp 71, 76)
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                                                                                                                         IV.      The Change of Contingent Beneficiary and Change of Ownership of
                                                                                                                                  the Policy
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                                                                                                                            28.     On June 11, 2007, Nationwide received a change of beneficiary form

                                                                                                                      maintaining William as the primary beneficiary but replacing Nicole and Monica
HARVEY KRUSE




                                                                                                                      as contingent beneficiaries with Jennifer. (Change of Beneficiary Form, Exhibit 6)

                                                                                                                            29.     The change of beneficiary form is signed by Gary Lupiloff with a
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                                                                                                                      signature date of April 4, 2007. (Exhibit 6)

                                                                                                                            30.     Gary Lupiloff’s signature on the change of beneficiary form was

                                                                                                                      witnessed by Mary B. Reich, who also signed the form. (Exhibit 6)

                                                                                                                            31.     Gary Lupiloff acknowledged the terms and conditions of the change

                                                                                                                      of beneficiary form: “I hereby acknowledge that I have read and agree to the terms

                                                                                                                      and conditions on page 3 of this application.” (Exhibit 6)

                                                                                                                            32.     The terms explicitly state that all previous beneficiary designations

                                                                                                                      are revoked: “Once the Company receives and agrees to this application, all

                                                                                                                      previous beneficiary designations for this policy are revoked effective the date of


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                                                                                                                      this application.” (Exhibit 6)

                                                                                                                              33.     Also on June 11, 2007, Nationwide was faxed a copy of a change of

                                                                                                                      ownership form. (Change of Ownership Form, Exhibit 7)

                                                                                                                              34.     The change of ownership form designated the new owner as William.

                                                                                                                      (Exhibit 7)

                                                                                                                              35.     The form states that Gary Lupiloff revoked his designation as owner:

                                                                                                                      “I, the present owner of the above numbered policy, hereby revoke any previous
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                                                                                                                      designations of Owner. . . .” (Exhibit 7)

                                                                                                                              36.     The change of ownership form specifically states that it revoked all
HARVEY KRUSE




                                                                                                                      prior ownership: “This application revokes ALL previous ownership.” (Exhibit 7)

                                                                                                                              37.     This form was signed by both William and Gary Lupiloff with a
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                                                                                                                      signature date of April 4, 2007. (Exhibit 7)

                                                                                                                         V.         Gary Lupiloff was Murdered, William is a Suspect, Defendants Have
                                                                                                                                    Made Conflicting Claims Regarding Their Rights to Recover Under
                                                                                                                                    the Policy
                                                                                                                              38.      Gary Lupiloff was shot to death on the driveway of his home in

                                                                                                                      Royal Oak, MI on July 13, 2010. (News Report, Exhibit 8)

                                                                                                                              39.     Royal Oak police have informed Nationwide and its attorneys that

                                                                                                                      William is a prime suspect in the Gary Lupiloff murder. Michigan has a “slayer

                                                                                                                      statute,” MCL 700.2803, which states that an individual who feloniously and

                                                                                                                      intentionally kills the decedent forfeits all benefits with respect to the decedent’s



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                                                                                                                      estate including any insurance or annuity policy benefits.

                                                                                                                            40.     Two days after the murder, William sought to recover under the

                                                                                                                      Nationwide policy. (William’s Beneficiary Claim Form, Exhibit 9)

                                                                                                                            41.     On September 8, 2010, Nationwide received a letter from Nicole and

                                                                                                                      Monica’s attorney asserting a claim to the proceeds of the Nationwide policy.

                                                                                                                      (Claim Letter, Exhibit 10)
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                                                                                                                            42.     Nicole submitted a beneficiary claim form on December 13, 2010.
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                                                                                                                      (Nicole’s Beneficiary Claim Form, Exhibit 11)

                                                                                                                            43.     Monica submitted a beneficiary claim form on December 14, 2011.
HARVEY KRUSE




                                                                                                                      (Monica’s Beneficiary Claim Form, Exhibit 12)

                                                                                                                         VI.      Nationwide Filed a Declaratory Action/Action in the Nature of
                                                                                                                                  Interpleader
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                                                                                                                            44.     Due to the conflicting claims for benefits, the possible elimination of

                                                                                                                      William as a person legally capable of recovering under the policy pursuant to the

                                                                                                                      Michigan statute, and the potential fraud in procuring and maintaining the policy

                                                                                                                      by the Keenes with the intent to murder Gary Lupiloff, Nationwide filed this action

                                                                                                                      in the nature of interpleader. (Exhibit 2)

                                                                                                                            45.     Nationwide’s complaint raised issues regarding the Keenes’ potential

                                                                                                                      elimination as beneficiaries based on the slayer statute, MCL 700.2803. (Exhibit

                                                                                                                      2, ¶¶ 25-28, 33)

                                                                                                                            46.     The other major portion of Nationwide’s complaint was in the form of


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                                                                                                                      a declaratory action to determine if any coverage exists under the policy due to

                                                                                                                      fraud in procuring the policy with the intent to murder Gary Lupiloff. (Exhibit 2,

                                                                                                                      ¶¶ 9, 35, 37)

                                                                                                                         VII. There are Cross Claims and Counter Claims

                                                                                                                            47.       The Lupiloff defendants have filed a cross claim against William and

                                                                                                                      Jennifer in this interpleader action. (Cross-Claim, Exhibit 13)
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                                                                                                                            48.       The Lupiloff defendants allege that William murdered Gary Lupiloff
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                                                                                                                      or hired someone to do so. (Exhibit 13, ¶¶ 10, 12)

                                                                                                                            49.       The Lupiloff defendants allege that Jennifer knew of this murder.
HARVEY KRUSE




                                                                                                                      (Exhibit 13, ¶ 15)

                                                                                                                            50.       As the primary basis for their right to recovery, the Lupiloff
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                                                                                                                      defendants claim that Gary Lupiloff’s signatures were forged on the change of

                                                                                                                      beneficiary and change of ownership forms. (Exhibit 13, ¶ 9)

                                                                                                                            51.       The Keenes filed a counter claim on June 17, 2011. (Keene Counter

                                                                                                                      Claim, Exhibit 14)

                                                                                                                            52.       The Keenes’ claim a right to recover under the terms of the life

                                                                                                                      insurance contract and raise a claim of breach of contract. (Exhibit 14, ¶¶ 4-12)

                                                                                                                            53.       The Lupiloff defendants field a counter claim on June 20, 2011.

                                                                                                                      (Lupiloff Counter Claim, Exhibit 15)

                                                                                                                            54.       The Lupiloff defendants claim a right to recover under the terms of



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                                                                                                                      the insurance contract and also raise a claim of breach of contract in this counter

                                                                                                                      claim. (Exhibit 15, ¶ 21)

                                                                                                                            55.      The Lupiloff defendants once again base their claimed rights to

                                                                                                                      recovery on the allegation that Gary Lupiloff’s signatures on the change of

                                                                                                                      beneficiary and change of ownership forms were forged. (Exhibit 15, ¶ 7)

                                                                                                                         VIII. The Lupiloff Defendants Obtain an Expert to Support Their Claim
                                                                                                                               of Forged Signatures But he can Only Offer Speculation and
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                               Conjecture
                                                                                                                            56.      The Lupiloff defendants retained Robert D. Kullman, a claimed
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                                                                                                                      forensic document analyst, to review the signatures on the change of beneficiary
HARVEY KRUSE




                                                                                                                      and change of ownership forms. (Expert Letter, Exhibit 23)

                                                                                                                            57.      Kullman reviewed the change of beneficiary form, which he referred

                                                                                                                      to as Exhibit B, and concluded that it was “probably” signed by Gary Lupiloff:
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                                                                                                                      “Exhibit B, except the beneficiary name William Keene, was probably written and

                                                                                                                      signed by Gary Harmon Lupiloff.” (Exhibit 23)

                                                                                                                            58.      Kullman referred to the change of ownership form as Exhibit C. All

                                                                                                                      that he could conclude was that it was “probably” not signed by Gary Lupiloff. He

                                                                                                                      could not definitively state that the signature was not Gary Lupiloff’s signature.

                                                                                                                      (Exhibit 23)

                                                                                                                         IX.      Reich Testified that She Witnessed Gary Lupiloff Sign the Forms
                                                                                                                            59.      Reich was a Nationwide direct insurance agent. (Reich Dep, Exhibit



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                                                                                                                      24, p 7)

                                                                                                                            60.    Reich sold the life insurance policy insuring the life of Gary Lupiloff.

                                                                                                                      (Exhibit 24, p 7)

                                                                                                                            61.    Reich was also involved in the change of ownership on the policy.

                                                                                                                      She testified that she discussed the change of ownership with Gary Lupiloff and

                                                                                                                      informed him that he would no longer be in control of the policy if he signed the
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800




                                                                                                                      change in ownership. (Exhibit 24, pp 15-16) Reich advised against changing the
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                                                                                                                      ownership, but Gary Lupiloff still wanted to proceed with the change of

                                                                                                                      ownership. (Exhibit 24, p 16)
HARVEY KRUSE




                                                                                                                            62.    Reich testified that she, in fact, had several conversations about this

                                                                                                                      with Gary Lupiloff. (Exhibit 24, pp 41-42)
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                                                                                                                            63.    Reich specifically testified that Gary Lupiloff still wanted to change

                                                                                                                      the ownership of the policy. (Exhibit 24, p 16) He had no concerns or reservations

                                                                                                                      in signing the form. (Exhibit 24, pp 63, 77)

                                                                                                                            64.    Gary Lupiloff did not want to pay the premiums on the policy.

                                                                                                                      (Exhibit 24, p 59)

                                                                                                                            65.    Reich informed Gary Lupiloff that he could just change the payor on

                                                                                                                      the policy, but he did not care and wanted to change the ownership. (Exhibit 24, p

                                                                                                                      59)

                                                                                                                            66.    Reich testified that Gary Lupiloff signed the change in ownership



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                                                                                                                      form. (Exhibit 24, p 16)

                                                                                                                            67.    Reich specifically witnessed Gary Lupiloff sign the change of

                                                                                                                      ownership form. (Exhibit 24, pp 45-46)

                                                                                                                            68.    Reich testified that Gary Lupiloff knew that the beneficiaries would

                                                                                                                      change with the change in ownership and this was why she advised him against the

                                                                                                                      change in ownership. (Exhibit 24, pp 59-60)
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                                                                                                                            69.    Reich testified that Gary Lupiloff did not care about this and signed
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                                                                                                                      the documents despite her warnings. (Exhibit 24, pp 62-63) Reich met with or

                                                                                                                      spoke to Gary Lupiloff at least three times advising him not to sign and to think
HARVEY KRUSE




                                                                                                                      about it. But he expressed no concerns or reservations in changing the ownership.

                                                                                                                      (Exhibit 24, p 77)
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                                                                                                                            70.    Reich also specifically witnessed Gary Lupiloff sign the change of

                                                                                                                      beneficiary form. Reich signed this form as well. (Exhibit 24, pp 45-47, 75)

                                                                                                                            71.    Gary Lupiloff had no reservations about signing either forms.

                                                                                                                      (Exhibit 24, pp 77-78)

                                                                                                                            72.    There were no signs of force or coercion in Gary Lupiloff signing the

                                                                                                                      forms. (Exhibit 24, pp 78-79)

                                                                                                                            73.    Reich testified that Gary Lupiloff never appeared as if he was being

                                                                                                                      forced or compelled in any of her meetings with him. He knew that he would lose

                                                                                                                      control of the policy, but never expressed any concern or desire to keep his



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                                                                                                                      children as contingent beneficiaries. (Exhibit 24, pp 43-44)

                                                                                                                         X.         The Owner Controls the Policy and Its Beneficiaries

                                                                                                                              74.     The policy provides the right to change an owner: “The Owner may

                                                                                                                      name a Contingent Owner or a new Owner at any time during the lifetime of the

                                                                                                                      Insured.” (Exhibit 5, p 306)

                                                                                                                              75.     The use of “you” and “your” in the policy refers to the owner: “‘You’

                                                                                                                      or ‘your’ refer to the Owner of this policy.” (Exhibit 5, p 305)
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800
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                                                                                                                              76.     The owner has the right to change the beneficiary while the insured

                                                                                                                      remains living: “While the Insured is living, you may change any Beneficiary or
HARVEY KRUSE




                                                                                                                      Contingent Beneficiary.” (Exhibit 5, p 307)

                                                                                                                              77.     After the change in ownership, the estate of Gary Lupiloff would no
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                                                                                                                      longer be a contingent beneficiary if there are no listed beneficiaries eligible to

                                                                                                                      receive the benefits: “If no Beneficiary is living or in existence when the Death

                                                                                                                      Benefit becomes payable, we will consider you or your estate to be the

                                                                                                                      Beneficiary. (Exhibit 5, p 306)

                                                                                                                              78.     Again, “you” and “your” refer to the owner, not the named insured.

                                                                                                                      (Exhibit 5, p 305)

                                                                                                                              79.     Under the circumstances and the terms of the policy, Gary Lupiloff

                                                                                                                      cut off all right of the Lupiloff defendants to collect benefits by signing the change

                                                                                                                      of ownership and change of beneficiary forms. (Exhibit 5; Exhibit 6; Exhibit 7)



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                                                                                                                      CERTIFICATE OF SERVICE                         Respectfully submitted,
                                                                                                                      I hereby certify that the foregoing            BY: /s/Michael F. Schmidt
                                                                                                                      pleading has been electronically filed on        Michael F. Schmidt P25213
                                                                                                                      7-28-14 with the Clerk of the Court via          Nathan Peplinski P66596
                                                                                                                      the Electronic Case Filing system,               Attorneys for plaintiff
                                                                                                                      which will send notice of filing to all          mschmidt@harveykruse.com
                                                                                                                      attorneys of record.                             npeplinski@harveykruse.com
                                                                                                                                                                       1050 Wilshire Drive, Suite 320
                                                                                                                      /s/ Janice A. Albertson                          Troy, Michigan 48084-1526
                                                                                                                      Secretary to Michael F. Schmidt                  (248) 649-7800
                                            1050 WILSHIRE DRIVE, SUITE 320, TROY, MICHIGAN 48084-1526 248-649-7800
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                                                                                                                      DATED: July 28, 2014
HARVEY KRUSE
               ATTORNEYS & COUNSELORS




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